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 8
 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-010 MCE
12
                                  Plaintiff,             STIPULATION AND ORDER TO CONTINUE
13                                                       STATUS CONFERENCE, AND TO EXCLUDE
                            v.                           TIME UNDER SPEEDY TRIAL ACT
14
     DENNA CHAMBERS AND STARSHEKA                        DATE: September 29, 2016
15   MIXON,                                              TIME: 9:00 a.m.
                                                         COURT: Hon. Morrison C. England, Jr.
16                                Defendants.

17
18                                               STIPULATION

19         1.       By previous order, this matter was set for status on September 29, 2016.

20         2.       By this stipulation, defendants now move to continue the status conference until

21 December 1, 2016, and to exclude time between September 29, 2016, and December 1, 2016, under
22 Local Code T4.
23         3.       The parties agree and stipulate, and request that the Court find the following:

24                  a)     The government has produced over 25,000 pages of discovery associated with this

25         case, including tax returns, bank and credit card statements, investigative reports, and other

26         documents. The government has also made electronic devices and physical evidence available

27         for review.

28                  b)     Kelly Babineau, counsel for defendant Starsheka Mixon, was added as counsel of


      STIPULATION RE: SPEEDY TRIAL ACT; ORDER            1
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 1        record on June 22, 2016. Ms. Babineau has started to review the discovery, but needs additional

 2        time due to her trial schedule in state court. Ms. Babineau represents that she has spent the last

 3        month in trial in the matter of People v. Ramos, Sacramento County Superior Court case number

 4        13F05434. She further represents that this trial is scheduled to run through October 21, 2016.

 5        After she completes this trial, she will need additional time to complete her review of the

 6        discovery, conduct further investigation, and discuss potential resolutions with her client.

 7        Matthew Bockmon, counsel for defendant Denna Chambers, also needs additional time to

 8        continue his investigation and discuss potential resolutions with is client.

 9                c)      Counsel for defendants believe that failure to grant the above-requested

10        continuance would deny counsel the reasonable time necessary for effective preparation, taking

11        into account the exercise of due diligence.

12                d)      The government does not object to the continuance.

13                e)      Based on the above-stated findings, the ends of justice served by continuing the

14        case as requested outweigh the interest of the public and the defendant in a trial within the

15        original date prescribed by the Speedy Trial Act.

16                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

17        et seq., within which trial must commence, the time period of August 4, 2016, to December 1,

18        2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code

19        T4, because it results from a continuance granted by the Court at defendants’ request on the basis

20        of the Court’s finding that the ends of justice served by taking such action outweigh the best

21        interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; ORDER            2
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 2          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 4 must commence.
 5          IT IS SO STIPULATED.

 6
     Dated: September 26, 2016                                 PHILLIP A. TALBERT
 7                                                             Acting United States Attorney
 8
                                                               /s/ SHELLEY D. WEGER
 9                                                             SHELLEY D. WEGER
                                                               Assistant United States Attorney
10
11 Dated: September 26, 2016                                   /s/ Kelly Babineau by Shelley D. Weger
                                                               KELLY BABINEAU
12
                                                               Counsel for Defendant
13                                                             Starsheka Mixon

14
     Dated: September 26, 2016                                 /s/ Matthew Bockmon by Shelley D. Weger
15                                                             MATTHEW BOCKMON
                                                               Counsel for Defendant
16                                                             Denna Chambers
17
18
                                                       ORDER
19
            IT IS SO ORDERED.
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21
     Dated: September 27, 2016
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER              3
